                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                     Consolidated Civil Action

RALEIGH WAKE CITIZENS ASSOCIATION, )
et                    al.                          )
                                                      )
                       Plaintiffs, )
                                                      ) No. 5:15-cv-156
               V.                              )
                                                      )
WAKE COUNTY BOARD OF ELECTIONS, )
                                                      )
                       Defendant. )



CALLA WRIGHT, et al. )
                                                      )
                       Plaintiffs, )
                                                      )
               vs.          )    No.5:13-cv-607

                                                      )
STATE OF NORTH CAROLINA, et al. )
                                                      )
                       Defendant. )
                                                     J
                                DECLARATION OF GARY SIMS

       NOW COMES Gary Sims, who under penalty of perjury states as follows:


        1. I am over 18 years of age, legally competent to give this declaration, and have


personal knowledge of the facts set forth in it.


       2. I am the Director of Elections for Wake County, North Carolina, a position I have


held since July 2015. In my role as Director, it is my responsibility to ensure that Wake County


elections are orderly, fair, and open; that elections comply with all requirements set forth in the


North Carolina General Statutes, or by the North Carolina State Board of Elections ("SBOE"); and

that elections are conducted in a manner that will preserve the integrity of the democratic process.




          Case 5:15-cv-00156-D Document 83-1 Filed 07/18/16 Page 1 of 8
Before I was appointed Director, I served for eight years as Deputy Director of Elections for Wake


County. I have worked in elections since 1999.


        3. The Board is responsible for conducting all elections held in Wake County. These


responsibilities, largely dictated by North Carolina statutes, include facilitating local elections;

establishing election precincts and voting sites; appointing and training precinct officials;

preparing and distributing ballots and voting equipment; cavassing and certifying the ballots cast

in elections; investigating any voting irregularities; maintaining voter registration and participation

records; and providing election information to members of the public.


       4. As Director of the Wake County Board of Elections, I am familiar with the


procedures for elections in this County.


    OVERVIEW OF STATUTORY REQUIREMENTS FOR THE GENERAL ELECTION

        5. In administering any general election, special election, or primary election. Wake


County is bound by the timelines set forth in the North Carolina General Statutes, as administered


by the SBOE.

        6. The General Election will be on November 8,2016. The deadlines listed below all


have been calculated in reference to that date. Attached for the Court's reference as Exhibit A is


a chart detailing the applicable statutory deadlines in relation to the November 8 General Election.


       7. I have referenced the relevant sections of the General Statutes that I believe to be


applicable. Ultimately, the WBOE follows the guidance and instructions of the SBOE with respect

to the implementation of the election process, including applicable deadlines. I understand that


the SBOE has authority to modify election deadlines in certain. circumstances. To date, I am not


aware that the SBOE has exercised any such authority with respect to any of the deadlines


discussed below.




          Case 5:15-cv-00156-D Document 83-1 Filed 07/18/16 Page 2 of 8
        8. The candidate filing period for the Wake County Board of Education, which is

neither a primary-based election nor a municipal election, historically has been dictated by session


law. According to Session Law 2013-110, the candidate filing period begins at 12:00 noon on the


second Monday in June, and ends at 12:00 noon on the first Friday in July. For 2016, these dates


fell on June 13 and July 1.


        9. Pursuant to N.C. Gen. Stat. § 163-122, a qualified voter who seeks to have his name


printed on a general election ballot as an unaffiliated candidate for a county office must file written


petitions with the Board on or before the last Friday in June. For 201 6, this deadline fell on Friday,

June 24.


      • 10. Pursuant to N.C. Gen. Stat. § 163-258.16, not later than 100 days before a regularly


scheduled election, and as soon as practicable in the case of an election not regularly scheduled,


the Board must prepare an election notice to be used in conjunction with the federal write-in


absentee ballot under the Uniformed and Overseas Citizens Absentee Voting Act. The notice must


contain a list of all the ballot measures and federal, state, and local offices that, as of that date, are


expected to be on the election ballot. In reference to the regularly scheduled election on November


8, 2016, this deadline falls on July 31,2016.

        11. Pursuant to N.C. Gen. Stat. § 163-123, a candidate seeking to have write-in votes


counted towards electing him to a county office—and therefore, to have a space for a write-in vote


printed on the ballot—must file written petitions with the county board of elections on or before


the 90th day before the General Election. This deadline falls on Wednesday, August 10, 2016.

This is the final deadline for content to be included on a ballot. All subsequent deadlines address


voter information and access.




           Case 5:15-cv-00156-D Document 83-1 Filed 07/18/16 Page 3 of 8
        12. Pursuant to N.C. Gen. Stat. §§ 163-227.3 and 163-258.9, absentee ballots must be


made available to all covered voters, i.e., all voters who submit a valid military-overseas ballot


application or are otherwise qualified to vote by absentee ballot, no later than 60 days prior to a


statewide general election in even-numbered years, unless the SBOE authorizes a shorter period


under N.C. Gen. Stat. § 163-22(k) that is consistent with federal law. For the statewide general


election occurring on November 8, 2016, this deadline falls on September 9,2016.


        13. Pursuant to N.C. Gen. Stat. § 163-128, the Board must publish notice of any


changes of voting precincts and/or voting places no later than 45 days prior to the next primary or


general election. For purposes of the November elections, this date falls on September 24,2016.


        14. Pursuant to N.C. Gen. Stat. § 163-227.2, early voting takes place between the


second Thursday before an election and the last Saturday before that election. For the 2016 general


election, this time period runs from October 27,2016, until November 5, 2016.


        15. Voters must be registered no later than 25 days prior to any election or primary.


For the November 2016 elections, this deadline falls on October 14,2016. N.C. Gen. Stat. § 163-


82.6.


                 OVERVIEW OF STATUTORY REQUIREMENTS FOR ANY
                              PRIMARY ELECTION

        16. A primary election is subject to many of the same requirements detailed above. The


Board must prepare an election notice not less than 100 days before any primary, or as soon as


practicable if the election is not regularly scheduled. N.C. Gen. Stat. § 163-258.16. The notice of


candidate filing period, and the candidate filing period itself, are dictated in part by the SBOE and

in part by N.C. Gen. Stat. § 163-106(f). To my knowledge, the SBOE has not recently


implemented a filing period that lasted less than five business days.




          Case 5:15-cv-00156-D Document 83-1 Filed 07/18/16 Page 4 of 8
        17. Pursuant to N.C. Gen. Stat. § 163-287, any election must be noticed 45 days before


the election date. Additionally, as with any general election, the Board must publish notice of any


changes of voting precincts and/or voting places no later than 45 days prior to the next primary.


N.C. Gen. Stat. § 163-128.


        18. A candidate seeking a party primary nomination for any county office, including


the Wake County Board of County Commissioners, must file a notice of candidacy in accordance


with applicable law or instruction from the SBOE.1 For 2016, the North Carolina General


Assembly established a candidate filing period that concluded on December 21,2015.

        19. In accordance with N.C. Gen. Stat. § 163-227.2, early voting for a primary takes


place between the second Thursday before an election and the last Saturday before that election.


        20. Pursuant to N.C. Gen. Stat. § 163-227.3, absentee ballots must be made available


to all covered voters no later than 50 days before any primary, or 45 days if authorized by the


SBOE.

        21. After any primary or special election is held, the Board must complete the canvass


of the votes cast and authenticate the count in every ballot item, culminating in the authentication


of the official election results seven days after the election. N.C. Gen. Stat. § 163-182.5. Thus,


for example, for ballot information to be completed in accordance with the statutory requirements


listed above, it is important that any primary election take place no later than seven days prior to


the current August 10, 2016 deadline.




1 The SBOE has the authority under N.C. Gen. Stat. § 163-22.2 to make reasonable mles and
regulation with regard to any primary or election. N.C. Gen. Stat. §§ 163-22; 163-22.2.

                                                 5

          Case 5:15-cv-00156-D Document 83-1 Filed 07/18/16 Page 5 of 8
         OVERVIEW OF WAKE COUNTY BOARD OF ELECTIONS PROCEDURES

        22. Approximately ten percent of the state's registered voters reside in Wake County.


To comply with the above-referenced statutory requirements and to adequately serve the large


number of voters residing in Wake County, the Board begins to prepare for the election process


several months before Election Day.


        23. At the beginning of this process, the Board must code any applicable Wake County


districts to identify the addresses that are part of the individual districts. The time required to code

the districts depends on a variety of factors, such as whether the Board receives a "shape file" of


the districts and the extent and nature of the changes required to be made to implement new


districts. For example, if the Board does not receive a "shape file," which is a visual representation


of the districts on a map, the Board will coordinate with the county Geological Information System


department to generate such a file before coding the new districts.


        Polling Places

       24. As the election approaches, the Board takes steps to adequately staff all identified


polling places. To competently serve Wake County voters, the Board must recmit and train


approximately 650 workers to serve at polling places during the early voting period. The Board


must recruit and train approximately 2,600 workers to serve at polling places on Election Day. It


takes several sessions and significant resources to train these workers, making it very logistically


difficult to simultaneously train both groups.


       25. Due to the amount of space required, the Board—like many other bodies charged


with administering elections—typically works with facilities such as schools and churches to


identify and schedule polling places. To accommodate school, child care, and/or church schedules,


these polling places are identified and booked several months in advance. Under state law, the




          Case 5:15-cv-00156-D Document 83-1 Filed 07/18/16 Page 6 of 8
polling places must be finalized and formally noticed no later than 45 days prior to the election.


N.C. Gen. Stat. § 163-128(a).


        Creating and Printing Ballots

        26. Because of the importance of accuracy on the ballot and the need to avoid any


processing complications, both the Board and the SBOE conduct an extensive editing and testing


process to ensure complete accuracy of the ballots to be used in any election.


        27. Immediately after the deadline to petition for write-in space on a ballot, which is


90 days before the election (this year, August 10, 2016), the SBOE begins to proofread all ballot

content for non-local races. At the same time, the Board begins to craft the template for the Wake


County ballot. The Board then inserts the information from the SBOE on the non-local races into


its template before conducting an extensive proofreading and testing process to ensure accuracy.


        28. The Board then submits the completed Wake County template—which by then


holds information for all local, state, and federal positions that voters will elect in the upcoming


election—for approval from the SBOE. The SBOE is responsible for reviewing the ballot


templates of all 100 counties, and does so on a "first come, first serve" basis.


       29. To print the ballots, the Board submits a template to an outside vendor listing the


candidates for all elections that will be held on that date, including local, state, and national


elections. After the vendor returns the printed ballots to the Board, the Board must then test those


ballots to ensure that there will be no problems with the ballots being processed by the vote-


counting software.


       30. The Board generally utilizes the entire period of time between the deadline to

petition for a write-in space and the deadline for the submission of absentee ballots to conduct this


process.




           Case 5:15-cv-00156-D Document 83-1 Filed 07/18/16 Page 7 of 8
       I declare under penalty of perjury under the laws of the United States of America that the


foregoing is true and correct to the best of my knowledge.


       Executed this 18th day of July, 2016. /, ^--,

                                                                  .M X
                                                                 ./<._) .—--, ^ } z _.
                                                             Gary Sims
                                                             Director
                                                             Wake County Board of Elections




          Case 5:15-cv-00156-D Document 83-1 Filed 07/18/16 Page 8 of 8
